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           In the United States District Court
           for the Southern District of Georgia
                    Waycross Division
UNITED STATES OF AMERICA

     v.

MARIA LETICIA PATRICIO                          No. CR521-9

     Defendant.

                                 ORDER



     This matter is before the Court on Defendant’s Thirteenth Un-

Opposed Motion to Travel. Doc. 1144. Defendant represents the

Government and United States Probation Office do not oppose the

request. After careful consideration and for good cause shown,

Defendant’s Motion is GRANTED IN PART. Defendant is permitted to

leave the Southern District of Georgia on September 30, 2024, to

travel to Las Vegas, Nevada to attend a PROMOTORES Unidos and

LENUSA conference. Defendant must return to the Southern District

of Georgia on or before October 4, 2024.

     As for the request to travel yet again, in late October, that

request is DENIED. The Defendant and Counsel are ordered to appear

on Wednesday, October 9, 2024 at 1:30 PM to discuss and explain

the serial travel requests.
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  SO ORDERED, this 26th day of September, 2024.




                        HON.
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                                         WOOD, JUDGE
                                               J DGE
                                               JU
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
